           Case 3:19-cv-13955-FLW-DEA Document 5 Filed 06/19/19 Page 1 of 1 PageID: 80
AO 120 (Rev. 08/10)

                              Mail Stop 8                                               REPORT ON THE
              Director of the U.S. Patent and Trademark                         FILING OR DETERMINATION OF AN
TO:                              Office                                         ACTION REGARDING A PATENT OR
                             P.O. Box 1450                                                TRADEMARK
                     Alexandria, VA 22313−1450

       In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
                     filed in the U.S. District Court for the District of New Jersey on the following:
                  ____ Trademarks or X Patents. ( ____ the patent action involves 35 U.S.C. § 292.)

DOCKET NO.            DATE FILED                                     U.S. DISTRICT COURT
3:19−cv−13955−FLW−DEA 6/19/2019                                      TRENTON, NJ
PLAINTIFF                                                            DEFENDANT
VIFOR (INTERNATIONAL) AG                                             MYLAN LABORATORIES LTD.



     PATENT OR                  DATE OF PATENT                              HOLDER OF PATENT OR TRADEMARK
  TRADEMARK NO.                 OR TRADEMARK
1 7.612,109 B2                     11/03/2009                                    VIFOR (INTERNATIONAL) AG.
2 7,754,702 B2                        07/13/2010                             LUITPOLD PHARMACEUTICALS, INC.
3 8.895,612 B2                        11/25/2014                             LUITPOLD PHARMACEUTICALS, INC.
4 9,376,505 B2                        06/28/2019                                 VIFOR (INTERNATIONAL) AG.
5

             In the above−−entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED     INCLUDED BY

                                                      ___ Amendment        ___ Answer         ___ Cross Bill        ___ Other Pleading
      PATENT OR                 DATE OF PATENT                              HOLDER OF PATENT OR TRADEMARK
    TRADEMARK NO.               OR TRADEMARK
1
2
3
4
5

            In the above−−entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                   (BY) DEPUTY CLERK                                          DATE
   William T. Walsh                                         s/ Jair Bodnar                                          6/19/2019

Copy 1−−Upon initiation of action, mail this copy to Director Copy 3−−Upon termination of action, mail this copy to Director
Copy 2−−Upon filing document adding patent(s), mail this copy to Director Copy 4−−Case file copy
